













Opinion issued December 11, 2008








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00651-CV
____________

THOMAS A. SUMMERS, Appellant

V.

AVISHAI RON, Appellee




On Appeal from the 61st District Court
Harris County, Texas
Trial Court Cause No. 2007-13756




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed an unopposed motion to dismiss his appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Keyes, and Alcala.


